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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

John Velez
                                 Plaintiff,
v.                                                    Case No.: 1:18−cv−08144
                                                      Honorable Marvin E. Aspen
City of Chicago, et al.
                                 Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, December 13, 2018:


        MINUTE entry before the Honorable Marvin E. Aspen: Initial status hearing is set
for 2/21/2019 at 10:30 a.m. Mailed notice (ags, )




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